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Attorneys for Plaintiffs
James S. Goydos and Maria E. Martins

                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY

------------------------------------ x
                                                    :
JAMES S. GOYDOS and MARIA E. MARTINS,               :
                                                    :      Civil Action No. 3:19-cv-8966
                             Plaintiffs,            :
                                                    :
        vs.                                         :
                                                    :      COMPLAINT AND DEMAND FOR
RUTGERS, THE STATE UNIVERSITY a/k/a :                           TRIAL BY JURY
RUTGERS, THE STATE UNIVERSITY OF NEW :
JERSEY a/k/a RUTGERS, RUTGERS CANCER :
INSTITUTE OF NEW JERSEY (an independent :
institute at Rutgers, The State University), RWJ :
BARNABAS HEALTH, INC., STEVEN K. :
LIBUTTI, individually and in his official capacity, :
BRIAN L. STROM, individually and in his official :
capacity,    SAIBER      LLC,     WILLIAM        F. :
MADERER, individually and in his official :
capacity, DANALYNN T. COLAO, individually :
and in her official capacity, JOHN AND JANE :
DOES 1-10 (names being fictitious and unknown), :
and ABC CORPS. 1-10 (names being fictitious and :
unknown),                                           :
                                                    :
                             Defendants.            :

------------------------------------ x

       Plaintiffs James S. Goydos and Maria E. Martins, by way of Complaint, by and through

their attorneys, Blick Law LLC, state upon information and belief:
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                               PRELIMINARY STATEMENT

       1.     Plaintiff Dr. James S. Goydos, M.D. seeks relief pursuant to N.J.S.A. 34:19-1 et

seq. (the Conscientious Employee Protection Act (“CEPA”)) for the retaliatory and adverse

employment conduct of Defendants Rutgers Cancer Institute of New Jersey, Rutgers, the State

University of New Jersey, Dr. Steven K. Libutti, M.D., and Dr. Brian L. Strom, M.D., M.P.H.

that has now culminated into, among other things, his constructive discharge and forced

resignation from his position as Professor, Department of Surgery of Robert Wood Johnson

Medical School, Rutgers, The State University of New Jersey, and Rutgers Cancer Institute of

New Jersey.

       2.     Separate and apart from the retaliatory and adverse employment conduct alleged,

Dr. Goydos and his wife, Dr. Maria E. Martins, M.D, seek relief from all Defendants resulting

from Dr. Goydos being falsely implicated in a crime and other statutory, common law, and civil

rights violations associated therewith, and which are unrelated to the facts underlying the

aforementioned CEPA claim.

                                       THE PARTIES

       3.     Plaintiff James S. Goydos (hereinafter “Dr. Goydos”) is an individual residing at

1 Fernwood Court, East Brunswick, New Jersey 08816.

       4.     Plaintiff Maria E. Martins (hereinafter “Dr. Martins”) is an individual residing at

1 Fernwood Court, East Brunswick, New Jersey.

       5.     Defendant Rutgers, The State University a/k/a Rutgers, The State University of

New Jersey (hereinafter “Rutgers”) is a not-for-profit corporation registered in New Jersey with

a principal places of business throughout the State of New Jersey including, but not limited to,

campus locations at 57 US Highway 1, New Brunswick, New Jersey 08901-8554, as well as



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other locations in: New Brunswick, New Jersey; Piscataway, New Jersey; Camden, New Jersey;

and Newark, New Jersey.

         6.    Defendant Rutgers Cancer Institute of New Jersey (hereinafter “RCINJ”) is an

independent institute at Rutgers with a principal place of business at 195 Little Albany Street,

New Brunswick, New Jersey 08903-2681.

         7.    Defendant RWJ Barnabas Health, Inc. (hereinafter “RWJ Barnabas”) is a not-for-

profit corporation registered in New Jersey with a principal place of business located at 95 Old

Short Hills Road, West Orange, New Jersey 07052.

         8.    Defendant Dr. Steven K. Libutti, M.D. (hereinafter “Libutti”) is an individual

residing at 89 Park Lane, West Harrison, New York 10604.

         9.    Defendant Dr. Brian L. Strom, M.D., M.P.H. (hereinafter “Strom”) is an

individual residing at 20 Azalea Court, Middletown, New Jersey 07748.

         10.   Defendant Saiber LLC (hereinafter “Saiber”) is a for-profit limited liability

company registered in New Jersey with a principal place of business at 18 Columbia Turnpike,

Suite 200, Florham Park, New Jersey 07932.

         11.   Defendant William F. Maderer (hereinafter “Maderer”) is an individual residing

at 617 Maple Court, Garwood, New Jersey 07027.

         12.   Defendant DanaLynn T. Colao (hereinafter “Colao”) is an individual residing at 2

Highland Avenue, Madison, New Jersey 07940.

         13.   John and Jane Does 1-10 are fictitious persons whose identities are not yet known.

         14.   ABC Corps. 1-10 are fictitious corporate entities whose identities are not yet

known.




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                                     JURISDICTION AND VENUE

        15.         The Court has subject matter jurisdiction of the matters complained of pursuant to

28 U.S.C. § 1331.

        16.         This Court has federal question jurisdiction under 28 U.S.C. § 1331 because

Plaintiffs’ claims against certain Defendants arise under the Constitution of the United States of

America and under 42 U.S.C. § 1983.

        17.         This Court has supplemental jurisdiction over Plaintiffs’ state statutory and

common law claims pursuant to 28 U.S.C. § 1367, because the claims against Defendants are

related to the claims upon which subject matter jurisdiction is based.

        18.         Venue is proper in the District of New Jersey pursuant to 28 U.S.C. § 1391(b)(2)

because a substantial part of the events, actions, or omissions giving rise to the dispute occurred

in this District.

        19.         The Court has personal jurisdiction over Rutgers because it maintains its principal

place of business, transacts business, maintains substantial contacts, and/or committed the acts or

omissions that are the bases of the claims set forth herein in New Jersey.

        20.         The Court has personal jurisdiction over RCINJ because it maintains its principal

place of business, transacts business, maintains substantial contacts, and/or committed the acts or

omissions that are the bases of the claims set forth herein in New Jersey.

        21.         The Court has personal jurisdiction over RWJ Barnabas because it maintains its

principal place of business, transacts business, maintains substantial contacts, and/or committed

the acts or omissions that are the bases of the claims set forth herein in New Jersey.




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       22.     The Court has personal jurisdiction over Libutti because he is employed, regularly

transacts business, maintains substantial contacts, and/or committed the acts or omissions that are

the bases of the claims set forth herein in New Jersey.

       23.     The Court has personal jurisdiction over Strom because he resides in New Jersey,

is employed, regularly transacts business, maintains substantial contacts, and/or committed the

acts or omissions that are the bases of the claims set forth herein in New Jersey.

       24.     The Court has personal jurisdiction over Saiber because it maintains its principal

place of business, transacts business, maintains substantial contacts, and/or committed the acts or

omissions that are the bases of the claims set forth herein in New Jersey.

       25.     The Court has personal jurisdiction over Maderer because he resides in New

Jersey, is employed, regularly transacts business, maintains substantial contacts, and/or

committed the acts or omissions that are the bases of the claims set forth herein in New Jersey.

       26.     The Court has personal jurisdiction over Colao because she resides in New Jersey,

is employed, regularly transacts business, maintains substantial contacts, and/or committed the

acts or omissions that are the bases of the claims set forth herein in New Jersey.

       27.     The Court has personal jurisdiction over John and Jane Does 1-10, names being

fictitious and whose identities are not yet known, because they reside in New Jersey, are

employed, regularly transact business, maintain substantial contacts, and/or committed the acts

or omissions that are the bases of the claims set forth herein in New Jersey.

       28.     The Court has personal jurisdiction over ABC Corps. 1-10, names being fictitious

and whose identities are not yet known, because they maintain their principal places of business,

transact business, maintain substantial contacts, and/or committed the acts or omissions that are




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the bases of the claims set forth herein in New Jersey. are fictitious corporate entities whose

identities are not yet known.

                           FACTS COMMON TO ALL COUNTS1

         29.   This case involves Plaintiff Dr. James S. Goydos, M.D. (“Dr. Goydos”), an

esteemed melanoma surgeon, cancer researcher, tenured medical school professor, mentor,

husband, and father of three who was falsely implicated for the misdeeds of another.

         30.   He has now been charged with serious crimes he has always maintained and

continues to maintain he did not commit.

         31.   Dr. Goydos is a selfless man who has made a life and career out of saving lives,

yet he is now faced with the fight for his own and sudden personal and professional ruin.

         32.   He has been forced out by the Rutgers Cancer Institute of New Jersey (“RCINJ”)

and Rutgers, the State University of New Jersey (“Rutgers”) (collectively the “Institution”), the

public establishments he called home for nearly 25 years.

         33.   Upon information and belief, all of this was prompted by the very person who

himself was suspected of perpetrating the same acts Dr. Goydos, an innocent man, is now being

accused of committing.

                                     The False Implication

         34.   Upon information and belief, Defendant Dr. Steven K. Libutti, M.D. (“Libutti”), a

high-level state official and the current Director of RCINJ, used his position and power to secure

the backing of a private corporate healthcare affiliate of the Institution, Defendant RWJ Barnabas

Health, Inc. (“RWJ Barnabas”), of which he is also the Senior Vice President, Oncology




1
 All allegations and causes of action asserted are based upon information and reasonable belief
as of the time of filing.
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Services, to bankroll and partner in an investigation intended to clear his own name, while

implicating someone else.

       35.     Upon information and belief, that investigation was headed up by Defendant

Saiber LLC (“Saiber”), a prominent law firm, and certain lawyers in that firm, Defendants

William F. Maderer (“Maderer”) and DanaLynn T. Colao (“Colao”), who conducted themselves

as though they had been deputized under color of law.

       36.     They assumed a quasi-prosecutorial role such that their conduct was of the type

and nature characteristic of law enforcement.

       37.     Among other things they retained retired FBI agents and sought to conduct

investigatory interviews.

       38.     Upon information and belief, they directed and/or participated in the search and

seizure of computers, records, cell phones, and other evidence from both public and private

sources.

       39.     In so doing, and in conjunction with the efforts of Rutgers and RCINJ, they

formed their own criminal investigative enterprise, without regard for due process or other

protections to those they were investigating, which included Dr. Goydos - a public employee

entitled to state and federally protected safeguards.

       40.     At times, the impropriety of these actions and failure to adhere to Institution

policies was readily acknowledged and has been documented by and through a statement given

to law enforcement by a witness.

       41.     That witness’ statement also confirms that attempts were made to cure this

misconduct by directing that the very evidence they had gathered be destroyed.




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       42.     This spoiled and unreliable investigation, fraught with due process and procedural

violations, is believed to have been carried out by the joint efforts of Libutti, Rutgers, RCINJ,

Saiber, Maderer, Colao, and RWJ Barnabas, and with the common purpose to exculpate one,

Libutti, and falsely implicate another, Dr. Goydos.

       43.     After gathering just enough innocent information that could be fashioned into a

basis to incriminate an unwitting individual, upon information and belief, Rutgers, RCINJ,

Libutti, Saiber, Maderer, and Colao served up to prosecutors and police on a silver platter

otherwise innocuous information of a purely circumstantial nature about Dr. Goydos that was

presented in such a way that compelled law enforcement to look to Dr. Goydos.

       44.     The information gathered from the flawed investigation believed to have been

controlled and directed by Libutti, his lawyers, RWJ Barnabas, and the Institution, and which

was improperly and unlawfully obtained, was turned over to prosecutors and police who then

secured search warrants supported by affidavits based on cherry-picked information gathered

through their investigation efforts, much of which was, upon information and belief, either false,

misleading, or out of context.

       45.     In the early morning of March 30, 2018, Good Friday, just as they were planning

to depart for an Easter weekend trip to visit their sons in Washington, D.C., investigators from

the Middlesex County Prosecutor’s office, in conjunction with other law enforcement agencies,

descended upon the home of Dr. Goydos and his wife, Dr. Maria E. Martins, M.D. (“Dr.

Martins”) and their family, to execute a search warrant.

       46.     As Dr. Goydos stood by and watched in disbelief and shock, investigators and

police spent the entire day searching and rummaging through every inch of the house and its

contents, and removing personal computers, data storage devices, cell phones, cameras, personal



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effects, and anything else they could relate to the alleged crime(s) being investigated; the details

of which, at that point, had still not yet been disclosed to Dr. Goydos.

        47.     During the search investigators discovered a sealed bag containing a rifle, stored

out of plain view and on a shelf in Dr. Goydos’ basement work area.

        48.     No ammunition was found anywhere on the premises.

        49.     Dr. Goydos was placed under arrest, handcuffed, led shamefully into the street of

his suburban neighborhood as friends and neighbors looked on, and transported to the local

police station where he was booked and processed on a gun possession charge.

        50.     If convicted that gun charge can result in a significant prison sentence.

        51.     While being processed, in a flawlessly orchestrated and executed plan between

the prosecutor’s office and Libutti, Strom, Maderer, Colao, Saiber, Rutgers, and RCINJ, Rutgers

police entered the local police station and served upon Dr. Goydos a letter from Defendant Dr.

Brian L. Strom, M.D., M.P.H. (“Strom”), Chancellor of Rutgers Biomedical and Health Sciences

and the Executive Vice President for Health Affairs at Rutgers University.

        52.     That letter stated, among other things, that Dr. Goydos had been placed on

administrative leave, was relieved of all responsibilities, and was to have no contact with any

University students, patients, faculty, or staff.

        53.     It also stated that Dr. Goydos was banned from all properties of Rutgers, the

violation of which would result in charges for criminal trespass.

        54.     There was no explanation in that correspondence or from Rutgers as to any

charges being asserted or any indication of any allegations Dr. Goydos would be expected to

meet.




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       55.       Instead, Rutgers officials and representatives, including, but not limited to

Maderer, would only state that the subject matter underlying the administrative leave and inquiry

were still under investigation and they were not at liberty to disclose any further detail.

       56.       After being processed following his arrest, Dr. Goydos was transported to the

Middlesex County Adult Correction Center where he was jailed overnight and released the

following day.

       57.       In the immediate aftermath following his placement on administrative leave, Dr.

Goydos, by and through counsel, lodged an objection to the Institution’s action describing it as,

among other things, “abrupt and unexplained” and “with no apparent objective”, as it had

provided no detail as to the reason for the administrative leave determination.

       58.       The Institution was placed on notice that its action, with no prospect or offering of

a hearing, constituted a denial of due process as a public employee and a denial of Dr. Goydos’

right to meet and respond to any purported charges.

       59.       The Institution responded, in sum, by simply confirming his administrative leave

status and reaffirming the terms of the ban based on the “University[‘s] understand[ing] that Dr.

Goydos has appeared in court for the illegal possession of a firearm and that the Middlesex

County Prosecutor’s Office is continuing its investigation of other potential crimes that may have

occurred at [R]CINJ in the fall of 2017.”

       60.       That response further confirmed that “Rutgers [was] conducting its own

investigation into events occurring at RCINJ in the fall of 2017.”

       61.       Defendants’ unlawful actions, under the guise of an official investigation, stripped

a tenured medical school professor and acclaimed cancer surgeon and researcher of his




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constitutionally protected rights, professional privileges and reputation, and left his patients and

colleagues to speculate and churn the rumor mill as to what happened to Dr. Goydos.

       62.     In addition to the obvious impact on Dr. Goydos, these acts committed by

Defendants directly and detrimentally impacted the cancer research community, and, most

importantly, those patients who were relying on Dr. Goydos’ care and expertise to overcome

their cancer diagnoses, and in many cases, for their survival.

       63.     Despite his own sudden legal woes, Dr. Goydos was so concerned about the well-

being of several patients with immediate treatment needs, some of whom were scheduled for

operations the week of his arrest, he requested from the Institution that a list of his patients be

turned over so that he could provide notes and treatment directives to the covering physician at

RCINJ who would be assuming their care, and to reach out to those patients so that Dr. Goydos

could discharge his ethical obligations as a physician and surgeon.

       64.     With operations scheduled in the coming days, and patients depending upon his

care, the Institution refused to accommodate the request and simply responded by reasserting its

directive to remain compliant with its purported ban from its premises and from communicating

with patients and staff members.

       65.     On December 7, 2018, almost 9 months after being placed on administrative

leave, with no charges being asserted against him, no criminal conviction, and with no hearing

afforded by the Institution, counsel for Rutgers advised counsel for Dr. Goydos that it would be

pursuing detenuring proceedings against him in the coming days.

       66.     No basis for the contemplated detenuring was provided.




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       67.     To avoid further persecution by a process that, upon information and belief,

would inevitably be fueled with misinformation and evidence secured by improper means, on

December 14, 2018 Dr. Goydos was compelled to tender his resignation from the Institution.

       68.     On December 28, 2018, relying in part on the evidence gathered in the course of

the investigation commenced and directed by Defendants, and without the benefit of Dr.

Goydos’ account, Dr. Goydos was indicted by a Middlesex County Grand Jury on 160 counts for

alleged violations stemming from a crime he did not commit - the placement of a camera in the

second-floor women’s bathroom at RCINJ.

       69.     The alleged motive advanced was that in an effort to setup Libutti for reasons yet

to be validated and which remain unknown, Dr. Goydos is alleged to have broken into RCINJ

and certain rooms and offices therein and fished through the ceiling a complex network of wires

connecting a camera in the bathroom to a termination point somewhere in Libutti’s office.

       70.     It has also been advanced that officials received a tip from an anonymous source

claiming that Libutti was seen going into or coming out of the second-floor women’s bathroom

at RCINJ.

       71.     Law enforcement and the Institution are taking the position that the tipster was

Dr. Goydos, and that he allegedly submitted the tip for the purpose of setting up Libutti for some

unknown reason.

       72.     Dr. Goydos appears to have been implicated in this crime because, upon

information and belief, in mid-to-late 2014, a janitor at RCINJ reported that Dr. Goydos was

seen getting a cup of coffee from then RCINJ Director Dr. Robert S. DiPaola, M.D.’s (“Dr.

DiPaola”) suite after-hours.




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       73.     Dr. Goydos had been given permission to go into the suite to get coffee at his

discretion.

       74.     Following an inquiry into this report, a Rutgers investigator cleared Dr. Goydos of

any wrongdoing and found the charges to be unsubstantiated.

       75.     Upon information and belief, it is based on this incident and the unproven

allegation that Dr. Goydos submitted a supposed anonymous tip implicating Libutti in going into

the women’s bathroom that Dr. Goydos has now been thrust into the cross-hairs of the

investigation described herein and, as a result, has been put in a position in which he is fighting

for his liberty, defending his good name and reputation, and has sustained significant damage to

his career and suffered a major impediment in his capacity to earn a living.

       76.     These occurrences have been taxing on Dr. Goydos and Dr. Martins and their

family, and they have been forced to endure the pain and humiliation of these salacious and

embarrassing charges, and the expense, burden, and risk of having to defend against 160 criminal

counts, all while doing so without the paycheck that the Goydos family had been receiving for

nearly 25 years.

       77.     Moreover, given the nature of the criminal charges asserted, and in the interest of

being compliant with the rules governing medical licensees, Dr. Goydos has self-reported to the

state medical licensing board the law enforcement action being taken, despite the full knowledge

that he now runs the risk of license suspension, revocation, or other disciplinary action.

       78.     In the face of this nightmarish chain of events, all of which carry devastating

repercussions, Dr. Goydos is emphatic and vigorous in defense of his innocence as to the alleged

crimes from which this all stems.




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                          Retaliation and Adverse Employment Action

       79.     Separate and apart from the aforesaid acts, Dr. Goydos has been subjected to

ongoing retaliation and adverse employment action.

       80.     In or about early 2014, then RCINJ Director Dr. DiPaola hired Dr. Howard

Kaufman, M.D. (“Dr. Kaufman”) as the Associate Director of Clinical Research at RCINJ, a

position responsible for overseeing clinical research.

       81.     At or about that time, Dr. David August, M.D. (“Dr. August”) was Chief of the

Division of Surgical Oncology.

       82.     In or about mid-2014, Dr. Kaufman assumed the role of Chief of the Division of

Surgical Oncology and Dr. August was made the Section Chief of GI Surgical Oncology.

       83.     As a result, Dr. Kaufman became Dr. Goydos’ superior, and Dr. August,

previously Dr. Goydos’ supervisor, had become equal in rank to Dr. Goydos as a Section Chief.

       84.     As a grant reviewer for the National Cancer Institute (“NCI”), Dr. Goydos had the

privilege of making continuous grant applications throughout the year, even though others could

only submit grants at specified times.

       85.     In or about mid-2014, Dr. Goydos was preparing a research project modular grant

(R01), which is a grant that is funded on a budget model of $250,000.00 annual increments for a

period of five years.

       86.     Part of the grant application process includes the preparation of a budget, which in

large part contains salary support details for the faculty and staff to be involved in the proposed

research efforts.




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           87.   This grant, if awarded, would be in addition to R01, K24, and R21 grants

previously secured, and which, according to Dr. Goydos’ records, were already funding

approximately 60% of Dr. Goydos’ base salary support.

           88.   This new grant would fund an additional 20% of Dr. Goydos’ base salary support.

           89.   Accordingly, between the existing grants and the new application, if approved,

Dr. Goydos’ salary support would be approximately 80% funded by his research efforts.

           90.   In addition to those research efforts, Dr. Goydos was assigned 20% full time

equivalent effort for his clinical work, which includes performing surgical procedures, caring for

patients, etc.

           91.   Therefore, the 80% salary support derived from research funding and the 20%

derived from clinical work together would account for approximately 100% of Dr. Goydos’

efforts.

           92.   After Dr. Goydos completed the preparation of the budget for the new R01 grant

application, it was submitted to the Institution’s finance department to be reviewed.

           93.   Finance was responsible for reviewing grant application budgets and would

contact the person submitting the budget if there were any errors, inconsistencies, changes, etc.

           94.   Dr. Goydos received a call from an individual in the finance department advising

him that following a review of the budget submitted for the new R01 grant, it was determined

that the 20% effort he allotted to salary support would result in his total effort (research and

clinical) exceeding 100%.

           95.   Dr. Goydos informed him that this was impossible as he had maintained

meticulous records.




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       96.     The individual further advised that according to finance’s records, Dr. Goydos

was assigned an approximate 50-60% full time equivalent status for his clinical work that, if true,

together with the additional 20% from the new grant, would exceed 100%.

       97.     In accordance with NIH rules, the total effort, both clinical and research, cannot

exceed 100%.

       98.     The man faxed the numbers to Dr. Goydos for review.

       99.     After reviewing the numbers, Dr. Goydos discussed this with Dr. Kaufman and he

presented to Dr. Kaufman the fax he received from the finance department.

       100.    Dr. Kaufman retrieved the numbers on his computer, and he confirmed that Dr.

Goydos’ accounting was accurate at approximately 20% clinical, as opposed to the 50-60%

appearing in the finance department’s system.2

       101.    At that point, Dr. Goydos advised Dr. Kaufman that if he were to submit the grant

to the NCI it would constitute a fraud based on incorrect numbers.

       102.    Dr. Kaufman agreed and said that he would look into the discrepancy.

       103.    Sometime that week, upon information and belief, Dr. Kaufman brought the

discrepancy to the attention of the RCINJ leadership including Dr. DiPaolo, Kevin Coyle, the

Chief Financial Officer at RCINJ, and Linda Tanzer, Chief Administrative and Operating Officer

and Associate Director for Administration and Planning at RCINJ, among others.

       104.    After a meeting attended by RCINJ leadership, Dr. Goydos heard from one of the

meeting attendees that Dr. Kaufman reported that Dr. Goydos was accusing the Institution of




2
  Prosecutors and the Institution removed all records of grants, applications, and the referenced
fax during the investigation and search of Dr. Goydos’ home. The Institution and the State
remain in possession of those materials.
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fraud, when in fact, he was trying to confirm the correct numbers in order to avoid perpetrating a

fraud himself.

        105.     Dr. Goydos was growing concerned and pressed the issue because he knew that a

discrepancy in the full time equivalence percent based on incorrect data, would constitute a fraud

as to any applications already submitted and to be submitted to the NCI and to the Institution’s

partner, Robert Wood Johnson University Hospital, which pays out bonuses to faculty based on

these figures.

        106.     After previously reporting this issue to Dr. Kaufman several times, Dr. Goydos

reported the issue to an investigator at the Institution.

        107.     Nothing was done to address these reports.

        108.     In or about February 2017, after Libutti replaced Dr. DiPaola as Director of

RCINJ, Libutti and Dr. Goydos had a meeting at which point Libutti encouraged Dr. Goydos to

speak freely about his concerns.

        109.     At that meeting, Dr. Goydos reiterated his concerns over the discrepancy in the

numbers being maintained by the Institution.

        110.     He also reiterated his worry that a grant application submission based upon

incorrect numbers could give rise to a fraud upon the NCI and Robert Wood Johnson University

Hospital.

        111.     After that meeting with Libutti, Dr. August informed Dr. Goydos that Libutti

described him as a negative force at RCINJ.

        112.     At or about that same time, preparations were being made for RCINJ’s

submission of application materials for renewal of RCINJ’s Cancer Center Support Grant

through the NCI, which was due the following January.



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       113.    Dr. Goydos had been advocating heavily for placing patients into research trials.

       114.    Researchers regularly apply for seed money to perform preliminary work in order

to apply for major grants.

       115.    Seed money funding was rarely granted.

       116.    Since this period was the “year of record” for RCINJ’s Cancer Center Support

Grant application, and it would have reflected poorly on RCINJ if there were no seed money

grants, upon information and belief, Libutti directed that researchers execute documents stating

that they had received seed money, when in fact, they did not actually receive those funds.

       117.    As the survival of RCINJ’s research efforts, operating budget, ranking, and

bottom line is based, in large part, on NIH and NCI grant funding, RCINJ’s leadership swept Dr.

Goydos’ reports under the rug and chose to ignore and silence Dr. Goydos.

       118.    The prospect of bringing to light what had been reported by Dr. Goydos would be

devastating to RCINJ and a public relations nightmare for the Institution under Libutti’s

leadership, whose appointment was the product of the joint efforts of both Rutgers and RWJ

Barnabas.

       119.    RCINJ was already fighting with other cancer care providers in the region for

limited market share and such a scandal would threaten patient referrals and coveted grant

money that was already difficult to secure, as well as likely expose the Institution to possible

state and federal investigation.

       120.    Indeed, RCINJ had already been looking to make up for its decline in market

share and research trial accrual by affiliating with RWJ Barnabas, which was publicly touted as

an effort that would “create the premier academic health care system in the state” and “to

develop centers of excellence; invest in clinical, academic and research innovations; educate



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health professionals; and improve health through coordinated patient outreach, prevention and

treatment of disease.”

          121.   In reality, upon information and belief, research efforts at RCINJ had begun to

slump and career researchers and staffers had begun an exodus from the Institution that continues

to this day.

          122.   Dr. Goydos was not only vocal about what he reasonably believed to be the fraud

and misappropriation he discovered and ultimately reported, but he was also vocal about his

concern that RCINJ was departing from its research roots and turning to a more profitable

clinical business model, as evidenced by the affiliation with RWJ Barnabas, a private healthcare

entity.

          123.   As retribution for being too vocal, Dr. Goydos was labeled by the Institution and

certain administrators as a troublemaker, as someone who knew more than he should, and false

rumors began to circulate that Dr. Goydos had been criticizing RCINJ, the very institution that

he helped found almost 25 years earlier.

          124.   As detailed above, the Institution launched an internal investigation targeting Dr.

Goydos after it was allegedly reported by a janitorial staff member that he was observed going

into the director’s suite to get a cup of coffee one evening while working late.

          125.   That investigation was fully vetted by Rutgers and the allegation proven to be

unsubstantiated.

          126.   It was also later alleged that a memorandum had been placed into Dr. Goydos’

employment file stating falsely that he had been disparaging RCINJ.

          127.   In another instance of retaliation, RCINJ increased Dr. Goydos’ full time

equivalent status from 20% to 40% without explanation.



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       128.    That resulted in the decrease of the bonus money paid to Dr. Goydos each year.

       129.    These occurrences make clear that after reporting what he reasonably believed to

be fraud and misappropriation, and because he had been so vocal about the divergence from

research efforts to clinical efforts, punishment was being perpetrated upon Dr. Goydos.

       130.    It is also clear that the timing of the criminal gun charge against Dr. Goydos made

it the perfect opportunity for the Institution to capitalize on his unfortunate circumstances and

take measures to effectively terminate his employment by constructive discharge, despite the fact

that he had never been charged with anything, and as a public employee, was never given a

hearing or other due process to meet any charges by the Institution.

       131.    Plaintiffs, by and through this action, in addition to defending in the criminal case,

now seek complete vindication, reparation, and damages from those who have negligently,

recklessly, improperly, vindictively, and falsely placed Dr. Goydos and his family in this

perilous position due to the alleged misconduct, violations of legal obligations, self-interest, and

otherwise unlawful acts of the Defendants.

                    NEW JERSEY TORT CLAIMS ACT COMPLIANCE

       132.    Rutgers and RCINJ are public entities as defined by N.J.S.A. 59:1-3.

       133.    On June 21, 2018, Dr. Goydos, by and through counsel, submitted a timely notice

of tort claim to Rutgers and RCINJ pursuant to N.J.S.A. 59:8-4 detailing the offending acts

aforesaid.

       134.    On July 20, 2018, Rutgers and RCINJ acknowledged receipt of the notice of tort

claim and forwarded to Dr. Goydos an adopted form of notice of tort claim.




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        135.    On July 31, 2018, Dr. Goydos, by and through counsel, submitted a timely

supplement to the initial notice of tort claim, in compliance with the form adopted by Rutgers

and RCINJ.

        136.    On July 31, 2018, Rutgers and RCINJ acknowledged receipt of the supplement in

the form adopted by Rutgers and RCINJ.

                                       FIRST COUNT
       (Violation of 42 U.S.C. § 1983 et seq. (Civil Rights Violation Claim as Against All
                                          Defendants)

        137.    Plaintiffs repeat and reallege the facts common to all counts and preceding

paragraphs and causes of action as if set forth more fully herein.

        138.    Pursuant to N.J.S.A. 18A:65-1 et seq., N.J.S.A. 59:1-1 et seq., and applicable case

law, Rutgers is a public entity and state actor.

        139.    Pursuant to N.J.S.A. 18A:65-94(a), RCINJ is an “independent institute at Rutgers,

The State University . . .” and is a public entity and state actor.

        140.    By virtue of his position as Director of RCINJ, Libutti is a public employee and

state actor.

        141.    By virtue of his position as Chancellor of Rutgers Biomedical and Health

Sciences and the Executive Vice President for Health Affairs at Rutgers, Strom is a public

employee and state actor.

        142.    RWJ Barnabas, Saiber, Maderer, Colao, John Does 1-10, and ABC Corps. 1-10

have engaged, aided, abetted, conspired, funded, and otherwise masterminded the

aforementioned conduct complained of with, and complicit with, Rutgers, RCINJ, Libutti,

Strom, John Does 1-10, and ABC Corps. 1-10 such that:




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           a. there is a sufficiently close nexus between Rutgers, RCINJ, Libutti, Strom, John

              Does 1-10, and ABC Corps. 1-10 and the alleged conduct of RWJ Barnabas,

              Saiber, Maderer, Colao, John Does 1-10, and ABC Corps. 1-10 so that

              the action of the latter may fairly be treated as that of Rutgers, RCINJ, Libutti,

              Strom, John Does 1-10, and ABC Corps. 1-10 themselves;

           b. Rutgers, RCINJ, Libutti, Strom, John Does 1-10, and ABC Corps. 1-10 have so

              far insinuated themselves into a position of interdependence with RWJ Barnabas,

              Saiber, Maderer, Calao, John Does 1-10, and ABC Corps. 1-10 that they must be

              recognized as joint participants in the activities complained of;

           c. RWJ Barnabas, Saiber, Maderer, Colao, John Does 1-10, and ABC Corps. 1-10

              were willful participants in joint action with Rutgers, RCINJ, Libutti, Strom, John

              Does 1-10, and ABC Corps. 1-10; and

           d. RWJ Barnabas, Saiber, Maderer, Colao, John Does 1-10, and ABC Corps. 1-10

              have been delegated powers traditionally exclusively reserved to the state.

       143.   At all times relevant hereto, Dr. Goydos was employed by Rutgers and RCINJ

and was a tenured medical school professor.

       144.   As such, Dr. Goydos was at all relevant times hereto, a public employee and a

tenured professor in a public institution, and pursuant to New Jersey statute, case law, and the

policies and regulations promulgated by Rutgers and RCINJ, had a protected property right and

interest in his employment.

       145.   Dr. Goydos was, at all times relevant hereto, entitled to certain federal, state, and

policy and regulatory safeguards and protections.




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       146.    Separate and apart from the aforesaid retaliation and adverse employment action

taken against Dr. Goydos, Rutgers, RCINJ, RWJ Barnabas, Libutti, Strom, Saiber, Maderer,

Colao, John Does 1-10, and ABC Corps. 1-10, while acting under color of law and exploiting

their positions of power and authority, intentionally conspired to violate and deprive Dr. Goydos

of his rights, safeguards, and protections afforded by the United States Constitution, the New

Jersey State Constitution, New Jersey statute, and Institution policy and regulation including, but

not limited to those rights afforded by: the Fourth; the Fifth; the Sixth; and the Fourteenth

Amendments of the United States Constitution.

       147.    Specifically, and in addition to the other conduct detailed herein, at all times

relevant hereto:

           a. Dr. Goydos was confronted by Defendants with inquiries in furtherance of what

               turned out to be a quasi-criminal investigation designed and led by them, without

               Defendants advising Dr. Goydos of his rights, or disclosing to him the subject

               matter of the investigation and the potential criminal and civil exposures that

               would likely result therefrom.

           b. On at least two separate occasions, Defendants demanded that Dr. Goydos present

               himself for a deposition-like “interview”, with court reporter present, without

               disclosing to him the subject matter of the questioning and threatening that his

               failure to cooperate could result in criminal charges and formal adverse

               employment action, including, but not limited to discipline.

           c. After advising Defendants that Dr. Goydos had retained counsel, they continued

               to demand his cooperation despite acknowledging the potential for criminal

               charges.



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         d. After waiting for Dr. Goydos to leave his office, and without Dr. Goydos’

            knowledge, Defendants conducted a warrantless and unauthorized search and

            seizure of his office computer, which contained private content and property, and

            HIPAA (Health Insurance Portability and Accountability Act of 1996) protected

            information about his patients.

         e. After acknowledging the impropriety and unlawful nature of their secretive search

            and seizure operation, Defendants then attempted a “do-over” by directly

            confronting Dr. Goydos and demanding from him access to his office computer

            and cell phone, in which he had a reasonable expectation of privacy, which were

            seized and searched by Defendants without Dr. Goydos’ permission.

         f. Defendants cherry-picked otherwise innocent, out-of-context information

            gathered from their unlawful and warrantless investigation and search and seizure

            efforts and delivered that information to law enforcement in a manner intended or

            otherwise designed by Defendants to support the issuance of a search warrant of

            Dr. Goydos and Dr. Martins’ home in an effort to clear Libutti from suspicion of

            criminal conduct, while falsely implicating Dr. Goydos.

         g. Defendants made affirmative false statements and materially omitted certain

            exonerating information about Dr. Goydos to third-parties that has harmed his

            personal and professional reputation and burdened or altered his status and rights

            including, but not limited to, statements and omissions to third-parties such as the

            hospital at which he held professional privileges, prospective employers, the

            press, law enforcement, the State Board of Medical Examiners, and Defendants’

            employees.



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         h. Without being charged with any violation of policy, regulation, or law, the

            Institution placed Dr. Goydos on administrative leave from his employment

            without any opportunity to meet, answer to, or otherwise provide any response in

            defense of the actions being taken against him.

         i. For almost 9 months (between March 30, 2018 and December 14, 2018), when

            Dr. Goydos was constructively discharged from his employment, and after he was

            forced to tender his resignation, Defendants never lodged any charges against

            him, never provided him with a hearing, and never afforded him any opportunity

            to respond, answer, or otherwise defend against anything.

         j. During that near 9 month period of administrative leave, Defendants unlawfully

            banned Dr. Goydos from Rutgers and RCINJ property, directed that Dr. Goydos

            have no contact with his colleagues, fellow employees, and patients, and deprived

            him of the right to retrieve, enjoy, and benefit from his personal belongings

            located at his workplace, all under threat of criminal prosecution if he were to

            violate any of Defendants’ ban terms.

         k. Without being charged with any violation of policy, regulation, or law,

            Defendants informed Dr. Goydos that they would be commencing detenuring

            proceedings.

         l. To avoid further persecution by the aforementioned circumstances and a process

            that would inevitably be fueled with misinformation and evidence secured by

            improper means, on December 14, 2018 Dr. Goydos was compelled to tender his

            resignation from Rutgers and RCINJ.




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           m. As a direct result of Defendants’ conduct and resulting ban and placement of Dr.

               Goydos on administrative leave, rumors of what happened to Dr. Goydos spread

               throughout the local and professional community, he was stigmatized because he

               did not have the opportunity or forum to explain to people what was happening to

               him, he was involuntarily removed from his medical practice, teaching

               responsibilities, and research projects, he became an unemployable “hot potato”

               with potential employers, and he was charged with crimes stemming from alleged

               conduct of which he is innocent.

           n. Dr. Goydos is now faced with a criminal prosecution alleging very serious crimes,

               mounting criminal defense costs, the risk of being falsely convicted,

               unemployment and unemployability, his personal and professional reputation

               being obliterated, the risk of his medical license being suspended, years of

               education and experience being voided, the dream and reality of helping cancer

               patients to survive being crushed, and strife at home resulting from what has

               become Dr. Goydos and his family’s new reality.

       148.    As a result of the aforementioned violations and deprivations of Plaintiffs’ rights,

safeguards, and protections afforded by law, Plaintiffs have and will continue to suffer severe

and permanent damages.

                                      SECOND COUNT
 (Violation of N.J.S.A. 34:19-1 et seq. (Conscientious Employee Protection Act (“CEPA”)) as
       Against Rutgers, RCINJ, Libutti, Strom, John Does 1-10, and ABC Corps. 1-10)

       149.    Plaintiffs repeat and reallege the facts common to all counts and preceding

paragraphs and causes of action as if set forth more fully herein.




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       150.    Rutgers, RCINJ, Libutti, Strom, John Does 1-10, and ABC Corps. 1-10 are

employers as defined by N.J.S.A. 34:19-2(a).

       151.    Dr. Goydos is an employee as defined by N.J.S.A. 34:19-2(b).

       152.    At all times relevant hereto, Dr. Goydos was employed by Rutgers, RCINJ,

Libutti, Strom, John Does 1-10, and ABC Corps. 1-10 either directly or implicitly, by virtue of

their control, direction, and management of his work.

       153.    During the course of his employment, Dr. Goydos disclosed, or threatened to

disclose to a supervisor or to a public body an activity, policy or practice of his employer(s), or

another employer, with whom there is a business relationship, that he reasonably believed: was

in violation of a law, or a rule or regulation promulgated pursuant to law; or was fraudulent or

criminal.

       154.    During the course of his employment, Dr. Goydos provided information to public

bodies conducting an investigation, hearing or inquiry into any violation of law, or a rule or

regulation promulgated pursuant to law by the employer, or another employer, with whom there

is a business relationship.

       155.    During the course of his employment, Dr. Goydos objected to, or refused to

participate in any activity, policy or practice which he reasonably believed: was in violation of a

law, or a rule or regulation promulgated pursuant to law; was fraudulent or criminal; or is

incompatible with a clear mandate of public policy concerning the public health, safety or

welfare or protection of the environment.

       156.    At all relevant times hereto, the offending conduct complained of by Dr. Goydos

was, upon information and belief, known to one or more of his supervisors and his employer(s).




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       157.    As a consequence of Dr. Goydos’ aforesaid disclosure or threatened disclosure,

information provided, and/or objection or refusal to participate in the offending conduct,

Rutgers, RCINJ, Libutti, Strom, John Does 1-10, and ABC Corps. 1-10 engaged in retaliatory

and adverse employment actions directed at Dr. Goydos.

       158.    As a direct and proximate result of these retaliatory and adverse employment

actions, Dr. Goydos has been damaged, continues to be damaged, and will be damaged in the

foreseeable future.

                                      THIRD COUNT
                            (Defamation as Against All Defendants)

       159.    Plaintiffs repeat and reallege the facts common to all counts and preceding

paragraphs and causes of action as if set forth more fully herein.

       160.    Separate and apart from the aforesaid retaliation and adverse employment action

taken against Dr. Goydos, Rutgers, RCINJ, Libutti, Strom, Saiber, Maderer, Colao, RWJ

Barnabas, John Does 1-10, and ABC Corps. 1-10 have asserted false and defamatory written and

oral statements about Dr. Goydos.

       161.    Those false and defamatory statements were published by the Defendants to third-

parties and were unprivileged.

       162.    Defendant’s publication of those false and defamatory statements was negligent,

careless, reckless, or wanton and willful.

       163.    As a direct and proximate result of the aforesaid conduct, Plaintiffs have been

damaged, continue to be damaged, and will be damaged in the foreseeable future.




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                                      FOURTH COUNT
                 (False Light - Invasion of Privacy as Against All Defendants)

       164.    Plaintiffs repeat and reallege the facts common to all counts and preceding

paragraphs and causes of action as if set forth more fully herein.

       165.    Separate and apart from the aforesaid retaliation and adverse employment action

taken against Dr. Goydos, Defendants directly, or by and through their spokesperson(s), have

issued false statements about Dr. Goydos to third-parties including but not limited to the press.

       166.    The false light in which Dr. Goydos was placed is highly offensive to a

reasonable person.

       167.    Defendants had knowledge of, or otherwise acted in reckless disregard as to the

falsity of the publicized matters and the false light in which Dr. Goydos would be placed.

       168.    Defendants further had knowledge of, or otherwise acted in reckless disregard as

to the falsity of the publicized matters and the false light in which Dr. Goydos would be placed,

and which would have a direct and detrimental impact on Dr. Martins.

       169.    As a direct and proximate result of the aforesaid conduct, Plaintiffs have been

damaged, continue to be damaged, and will be damaged in the foreseeable future.

                                       FIFTH COUNT
           (Tortious Interference with Business Relations as Against All Defendants)

       170.    Plaintiffs repeat and reallege the facts common to all counts and preceding

paragraphs and causes of action as if set forth more fully herein.

       171.    Plaintiffs have a protected interest in Dr. Goydos’ employment and employability,

reputation and good name, tenured status, hospital privileges, ability to practice medicine, ability

to perform research, relationship with past, present, and future patients, relationship with others

in the medical and research communities, and medical licensure.



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       172.     Separate and apart from the aforesaid retaliation and adverse employment action

taken against Dr. Goydos, Rutgers, RCINJ, RWJ Barnabas, Libutti, Strom, Saiber, Maderer,

Colao, John Does 1-10, and ABC Corps. 1-10 intentionally interfered in Plaintiffs’ protected

interests by engaging in the conduct set forth herein.

       173.     In addition, Dr. Goydos has been denied employment opportunities with third-

parties due to the intentional interference by the Defendants.

       174.     That interference was reasonably likely to cause the loss of prospective gain from

those protected interests.

       175.     As a direct and proximate result of the aforesaid conduct, Plaintiffs have been

damaged, continue to be damaged, and will be damaged in the foreseeable future.

                                          SIXTH COUNT
              (Intentional Infliction of Emotional Distress as Against All Defendants)

       176.     Plaintiffs repeat and reallege the facts common to all counts and preceding

paragraphs and causes of action as if set forth more fully herein.

       177.     Separate and apart from the aforesaid retaliation and adverse employment action

taken against Dr. Goydos, Rutgers, RCINJ, Libutti, Strom, Saiber, Maderer, Colao, RWJ

Barnabas, John Does 1-10, and ABC Corps. 1-10 acted intentionally and in a manner that was so

outrageous in character, and so extreme in degree, as to go beyond all possible bounds of

decency, and is to be regarded as atrocious, and utterly intolerable in a civilized community.

       178.     Defendants’ actions aforesaid proximately caused and will continue to cause

emotional distress that is so severe that no reasonable person could be expected to endure it.

       179.     As a direct and proximate result of the aforesaid conduct, Plaintiffs have been

damaged, continue to be damaged, and will be damaged in the foreseeable future.




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                                     SEVENTH COUNT
                             (Negligence as Against All Defendants)

       180.    Plaintiffs repeat and reallege the facts common to all counts and preceding

paragraphs and causes of action as if set forth more fully herein.

       181.    Separate and apart from the aforesaid retaliation and adverse employment action

taken against Dr. Goydos, Rutgers, RCINJ, RWJ Barnabas, Libutti, Strom, Saiber, Maderer,

Colao, John Does 1-10, and ABC Corps. 1-10 owed a duty to Plaintiffs to act with reasonable

prudence and care so as to avoid causing them harm or engaging in the conduct alleged herein.

       182.    Defendants breached that duty by wantonly, willfully, carelessly, negligently,

and/or recklessly engaging in the acts and omissions aforesaid.

       183.    As a direct and proximate result of the aforesaid conduct, Plaintiffs have been

damaged, continue to be damaged, and will be damaged in the foreseeable future.

                                    EIGHTH COUNT
       (Conversion as Against Rutgers, RCINJ, John Does 1-10, and ABC Corps. 1-10)

       184.    Plaintiffs repeat and reallege the facts common to all counts and preceding

paragraphs and causes of action as if set forth more fully herein.

       185.    Prior to his being placed on administrative leave, Dr. Goydos maintained an office

and laboratory at Rutgers and RCINJ that contained his personal belongings.

       186.    At all times relevant hereto, Dr. Goydos owned that personal property and had,

and continues to have the right to immediate possession and use of that personal property.

       187.    Separate and apart from the aforesaid retaliation and adverse employment action

taken against Dr. Goydos, Rutgers, RCINJ, John Does 1-10, and ABC Corps. 1-10 have

wrongfully and without justification interfered with that right and have refused Dr. Goydos

access to and possession of his personal belongings.



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       188.    As a direct and proximate result of the aforesaid conduct, Plaintiffs have been

damaged, continue to be damaged, and will be damaged in the foreseeable future.

                                      NINTH COUNT
                      (Breach of Contract as Against Rutgers and RCINJ)

       189.    Plaintiffs repeat and reallege the facts common to all counts and preceding

paragraphs and causes of action as if set forth more fully herein.

       190.    Dr. Goydos had a contract of employment with Rutgers and RCINJ by virtue of

his tenured status, applicable law, and policies adopted by Rutgers.

       191.    According to Rutgers Policy Section 60.5.13, a tenured employee “shall hold the

office indefinitely at the pleasure of the Board of Governors.”

       192.    Despite Dr. Goydos’ faithful and complete performance of his duties, Rutgers and

RCINJ breached his employment contract by declaring that it would pursue detenuring

proceedings, without the ratification or direction of the Board of Governors, thereby breaching

its own employment policy.

       193.    That breach proximately resulted in Dr. Goydos’ constructive discharge.

       194.    As a direct and proximate result of the aforesaid conduct, Plaintiffs have been

damaged, continue to be damaged, and will be damaged in the foreseeable future.

                                      TENTH COUNT
                              (Per Quod as Against All Defendants)

       195.    Plaintiffs repeat and reallege the facts common to all counts and preceding

paragraphs and causes of action as if set forth more fully herein.

       196.    As a direct and proximate result of Defendants’ liability, resulting in damages to

her husband Dr. Goydos, Dr. Martins has sustained the loss or impairment of the comfort,




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economic support, companionship, consortium, services and duties previously provided by her

husband.

       197.    As a direct and proximate result of the aforesaid conduct, Plaintiffs have been

damaged, continue to be damaged, and will be damaged in the foreseeable future.

                                    PRAYER FOR RELIEF

       WHEREFORE, as a result of the foregoing, Plaintiffs demand judgment against

Defendants, jointly and severally, awarding actual damages (past and present), future damages,

treble damages, punitive damages, statutory damages, economic damages, compensatory

damages, emotional distress damages, civil fines, injunctive relief, reinstatement of employment

and/or lost wages, benefits, and other renumeration, reinstatement of full fringe benefits and

seniority, reinstatement of tenure, declaratory relief, reasonable attorney’s fees, costs of suit,

interest, and such other and further relief as this Court deems necessary and just.

                               DEMAND FOR TRIAL BY JURY

       Plaintiffs hereby demand a trial by a jury.


                                              Respectfully submitted,
                                              BLICK LAW LLC


                                      By:     s/ SHAUN I. BLICK, ESQ.
                                              Shaun I. Blick, Esq.


Dated: March 27, 2019




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